







		NO. 12-08-00346-CV



IN THE COURT OF APPEALS



TWELFTH COURT OF APPEALS DISTRICT



TYLER, TEXAS




§
	

IN RE: MICHAEL KENNEDY,

RELATOR§
	ORIGINAL PROCEEDING


§
	




MEMORANDUM OPINION


PER CURIAM


	Relator Michael Kennedy seeks a writ of mandamus requiring the trial court to enter a
summary judgment in Kennedy's favor in a civil rights action pending in the 369th Judicial District
Court of Anderson County, Texas.  

	Mandamus is an extraordinary remedy and was intended to be available "only in situations
involving manifest and urgent necessity and not for grievances that may be addressed by other
remedies."  Walker v. Packer, 827 S.W.2d 833, 840 (Tex. 1992) (orig. proceeding).  For Kennedy
to be entitled to relief by mandamus, he must meet two requirements.  First, he must show that the
trial court clearly abused its discretion.  Id.  Second, he must show that he lacks an adequate remedy
at law, such as an ordinary appeal.  See id.  Here, Kennedy requests that we direct the trial court to
enter a summary judgment in his favor.  However, mandamus cannot be used to tell the trial court
how to rule.  See In re Castle Prod. Ltd. P'ship, 189 S.W.3d 400, 403 (Tex. App.-Tyler 2006, orig.
proceeding).  Accordingly, the petition for writ of mandamus is denied.  

Opinion delivered September 10, 2008.

Panel consisted of Worthen, C.J., Griffith, J., and Hoyle, J.



(PUBLISH)


